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                      1623IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH CAROLINA
                                  BEAUFORT DIVISION

  Richard Alexander Murdaugh, Jr.,                    Case No. 9:24-cv-4914-RMG

                  Plaintiff,
            v.
                                                      ORDER AND OPINION
  Blackfin, Inc., et al.,
                  Defendants.


        Before the Court are motions to dismiss by Defendants Warner Bros. Discovery, Inc.,

Warner Media Entertainment Pages, Inc., Blackfin, Inc. and Campfire Studios Inc. (collectively,

the “Warner Defendants”). (Dkt. Nos. 88-90).       Plaintiff responded (Dkt. Nos. 94-96), and

Defendants replied (Dkt. Nos. 97-99).

       For the reasons set forth below, the Court denies Defendants’ motions to dismiss.

       I.        Background

       Plaintiff’s claims arise from two documentaries: (1) “Murdaugh Murders: Deadly

Dynasty” (the “Blackfin Documentary”), produced by Defendant Blackfin, Inc. (“Blackfin”) and

streamed by Defendant Warner Bros. Discovery, Inc. (“WBD”) on Discovery+ and the

Investigation Discovery television channel, and (2) “Low Country: The Murdaugh Dynasty” (the

“Campfire Documentary”), produced by Defendant Campfire Studios, Inc. (“Campfire”) and

WBD and streamed by Warner Media Entertainment on HBO Max. Plaintiff alleges that the

documentaries produced and distributed by Defendants are defamatory by implication in that they

falsely imply that Plaintiff murdered Stephen Smith. (Dkt. No. 86).




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       II.     Legal Standard

       Fed. R. Civ. P. 12(b)(6) permits the dismissal of an action if the complaint fails “to state a

claim upon which relief can be granted.” Such a motion tests the legal sufficiency of the complaint

and “does not resolve contests surrounding the facts, the merits of the claim, or the applicability

of defenses . . . . Our inquiry then is limited to whether the allegations constitute ‘a short and plain

statement of the claim showing that the pleader is entitled to relief.’” Republican Party of N.C. v.

Martin, 980 F.2d 943, 952 (4th Cir.1992) (quotation marks and citation omitted). In a Rule

12(b)(6) motion, the Court is obligated to “assume the truth of all facts alleged in the complaint

and the existence of any fact that can proved, consistent with the complaint's allegations.” E. Shore

Mkts., Inc. v. J.D. Assocs. Ltd. P'ship, 213 F.3d 175, 180 (4th Cir. 1980). However, while the

Court must accept the facts in a light most favorable to the non-moving party, it “need not accept

as true unwarranted inferences, unreasonable conclusions, or arguments.” Id.

       To survive a motion to dismiss, the complaint must state “enough facts to state a claim to

relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). Although

the requirement of plausibility does not impose a probability requirement at this stage, the

complaint must show more than a “sheer possibility that a Defendant has acted unlawfully.”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). A complaint has “facial plausibility” where the

pleading “allows the court to draw the reasonable inference that the Defendant is liable for the

misconduct alleged.” Id.

       III.    Discussion

       Defendants move to dismiss Plaintiff’s Amended Complaint on six grounds, arguing that

it (1) fails to sufficiently identify the allegedly defamatory content, (2) is barred by the First

Amendment, (3) fails to plead facts that the documentaries “conveyed the defamatory inference

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Plaintiff ascribes to it and that any of the Moving Defendants endorsed that inference,” (4) is barred

by the substantial truth doctrine, (5) fails to plead common law malice and (6) is barred by the fair

report privilege. (Dkt. No. 88-1 at 13-14; Dkt. No. 89-1 at 13-14; Dkt. No. 90-1 at 11). The Warner

Defendants move to dismiss Plaintiff’s Amended Complaint on the additional bases that Plaintiff

“fails to include a single factual allegation demonstrating that either of the Warner Entities

published the documentaries with common law malice” or “endorsed the allegedly defamatory

inference.” (Dkt. No. 90-1 at 6-11). The Court considers Defendants’ arguments in turn.

               A. The Warner Entities’ Motion To Dismiss (Dkt. No. 90)

       The Court begins by addressing the arguments specific to the Warner Entities. (See Dkt.

No. 90-2 at 1 n.2). The Warner Entities complain that Plaintiff has failed to provide them with

notice of the allegations against them as required by Rule 8 where “[t]he only arguably substantive

allegation as to either of the Warner Entities is that they published the allegedly defamatory content

by streaming and broadcasting the documentaries” which “is only one of many elements of

defamation.” (Dkt. No. 90-1 at 7). They highlight that “[t]he Amended Complaint does not include

a single fact specific to the Warner Entities relating to common law malice” nor that they “intended

or endorsed the allegedly defamatory inference”—both required elements of Plaintiff’s defamation

by implication claim. (Id. at 8, 10).

       “In order to prove defamation, the plaintiff must show (1) a false and defamatory statement

was made; (2) the unprivileged publication was made to a third party; (3) the publisher was at

fault; and (4) either actionability of the statement irrespective of special harm or the existence of

special harm caused by the publication.” Erickson v. Jones St. Publishers, L.L.C., 629 S.E.2d 653,

664 (S.C. 2006). A claim for defamation must state the alleged defamatory statement(s) as well

as the “time, place, medium, and listener of the alleged defamatory statements.” Gentry v.

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Bioverativ U.S. LLC, No. 2:19-cv-0873-MBS, 2019 WL 3802476, at *9 (D.S.C. Aug. 13, 2019).

“Defamation may also be accomplished through inference, implication, innuendo or insinuation,

as well as through direct reference.” Neloms v. Charleston Cnty. Sch. Dist., 2019 WL 6092279, at

*13 (D.S.C. June 19, 2019) (internal quotations and citation omitted).           Defamation by

implication—the theory advanced by Plaintiff in this case—requires the “especially rigorous

showing” where “the expressed facts are literally true.” Chapin v. Knight-Ridder, Inc., 993 F.2d

1087, 1092 (4th Cir. 1993). “A defamatory implication must be present in the plain and natural

meaning of the words used.” Id. “The language must not only be reasonably read to impart the

false innuendo, but it must also affirmatively suggest that the author intends or endorses the

inference.” Id.

       The Court finds that Plaintiff has plausibly plead his defamation by implication claim

against the Warner Entities and denies Defendants’ motion for dismissal on this basis. Plaintiff

alleges in his Amended Complaint that Defendants published the documentaries “with reckless

indifference to the truth and with knowledge of information that would have cast serious doubts

on the intended defamatory meaning of the Defendants’ publications” and “intended, or at least

endorsed, the inference that Plaintiff killed Mr. Smith” through “the juxtaposition of certain

statements within the show, even if they are opinion and/or facially true, to create a defamatory

implication, alongside certain omissions of information that would have tended to show that

Plaintiff was not involved in the death of Mr. Smith.” (Dkt. No. 86, ¶¶ 19, 34, 50). Plaintiff

identifies these statements concerning Mr. Smith in paragraphs 47-48 of his Amended Complaint

and details how the surrounding editing and context infuses the publications with a defamatory

meaning. He alleges that the Warner Entities published these defamatory statements throughout

the entire country “with reckless indifference to the truth and with knowledge of information that

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would have cast serious doubts on the intended defamatory meaning of the Defendants’

publications. (Id., ¶¶ 3, 15). The Court considers that Plaintiff has plausibly plead a claim for

relief against the Warner Entities pursuant to Fed. R. Civ. P. 8. For the same reasons, the Court

finds that Plaintiff has sufficiently identified the alleged defamatory content by Defendants

Blackfin and Campfire and proceeds to consider Defendants’ argument that Plaintiff’s case is

barred on First Amendment Grounds.1

               B. First Amendment And Defamation By Implication

       Defendants argue that “Plaintiff’s lawsuit does not ‘comport with the First Amendment’

because the [Documentaries] ‘cannot reasonably be interpreted” as conveying that Plaintiff was

“the murderer of Stephen Smith” (Blackfin Documentary) (Dkt. No. 88-1 at 16) or “as having

stated as a fact that Plaintiff killed Smith, used a baseball bat to kill Smith, or killed him due to a

relationship with Smith” (Campfire Documentary) (Dkt. No. 89-1 at 16). In Defendants’ view,

neither documentary asserts any facts about Plaintiff or Smith’s death, and rather merely highlight

theories floated by law enforcement and individuals within Hampton County regarding Smith’s

death and Plaintiff’s involvement. (Dkt. No. 88-1 at 16-22; Dkt. No. 89-1 at 16-22).

       The Court finds that Plaintiff has plausibly plead a defamation by implication claim that

comports with the First Amendment. “When a speaker plainly expresses ‘a subjective view, an

interpretation, a theory, conjecture or surmise, rather than [a] claim[ ] to be in possession of

objectively verifiable [false] facts, the statement is not actionable.’” Biospherics, Inc. v. Forbes,

Inc., 151 F.3d 180, 186 (4th Cir. 1998) (quoting Haynes v. Alfred A. Knopf, Inc., 8 F.3d 1222, 1227

(7th Cir. 1993)). “A question can conceivably be defamatory, though it must be reasonably read



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 Defendants have not moved for a more definite statement of Plaintiff’s defamation claim
pursuant to Fed. R. Civ. P. 12(e).
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as an assertion of a false fact; inquiry itself, however embarrassing or unpleasant to its subject, is

not accusation: Chapin v. Knight-Ridder, Inc., 993 F.2d 1087, 1094 (4th Cir. 1993) (emphasis in

original). Opinion statements may nonetheless imply a false assertion of fact “[e]ven if the speaker

states the facts upon which he bases his opinion, if those facts are either incorrect or incomplete,

or if his assessment of them is erroneous.” Milkovich v. Lorain J. Co., 497 U.S. 1, 19 (1990).

Defamation by implication may arise notwithstanding the truth of the alleged defamatory

statements where such language can be reasonably read (or understood) to impart the false

innuendo and affirmatively suggests that its speaker or publisher intends or endorses that inference.

Leask v. Robertson, 589 F. Supp. 3d 506, 524 (D.S.C. 2022); id. at 524 (“Chapin merely explained

that if the alleged defamation ‘arises from substantially true facts,’ a plaintiff may argue that the

collection of true statements was deployed in a way that suggested a false implication.”) (quoting

Chapin, 993 F.2d at 1092).

       Here, Plaintiff has plead that Defendants’ deliberate editorial choices—specifically, the

juxtaposition of certain statements and omissions within the two documentaries—falsely imply

and endorse the inference that Plaintiff is the murderer of Stephen Smith. (See generally Dkt. No.

86). The Court finds that Plaintiff has stated a plausible defamation by implication claim and that

his lawsuit is not barred by the First Amendment.

               C. Substantial Truth Doctrine

       Defendants argue that “[t]he substantial truth doctrine requires dismissal because Plaintiff

cannot demonstrate that [either documentary] would create a ‘different effect on the mind of’ the

viewer ‘from that which the pleaded truth would have produced.’” (Dkt. No. 88-1 at 28; Dkt. No.

89-1 at 28) (quoting Masson v. New Yorker Mag., Inc., 501 U.S. 496, 517 (1991)). Defendants

explain that Plaintiff’s name repeatedly surfaced during the law enforcement investigation into

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Stephen Smith’s death, such that including audio excerpts from recordings of the investigation in

the documentaries does not have a different effect on the viewer from the pleaded truth. (Id.).

“Truth of the matter or substantial truth is a complete defense to a claim for defamation.” A

Fisherman's Best, Inc. v. Recreational Fishing All., 310 F.3d 183, 196 (4th Cir. 2002).

       The Court finds that Plaintiff has plausibly plead that the documentaries present the audio

excerpts of law enforcement interviews—in other words, the “pleaded truth”—in an editorialized

manner that has a different effect on the mind of the viewer from the pleaded truth. In sum,

Plaintiff’s argument is that the pleaded truth is defamatory by implication considering the

surrounding context of the documentaries and the manner in which that truth is presented. The

Court finds that Plaintiff’s lawsuit is not barred by the substantial truth doctrine.

               D. Fault

       Defendants argue that, even assuming Plaintiff is a private figure, he has failed to plead

facts supporting a claim of common law malice by Defendants. (Dkt. No. 88-1 at 29; Dkt. No. 89-

1 at 30). The common law malice standard requires that a private figure defamation plaintiff show

“the defendant was actuated by ill will in what he did, with the design to causelessly and wantonly

injure the plaintiff, or that the statements were published with such recklessness as to show a

conscious indifference toward plaintiff's rights.” Tharp v. Media Gen., Inc., 987 F. Supp. 2d 673,

680 (D.S.C. 2013) (quoting Jones v. Garner, 158 S.E.2d 909, 914 (S.C. 1968)).

       Defendants contend that “[t]he allegations that the Defendants relied on alleged

‘speculation, rumor, or hearsay’ or ‘purposefully ignored information’ about other individuals

‘rumored to be involved’ in Smith’s death are too vague” and that Plaintiff relies on improper

group pleading “[b]y lumping together the states of mind of multiple organizations and with

respect to all Defendants en masse.” (Dkt. No. 88-1 at 30-31; Dkt. No. 89-1 at 32-33). On review

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of Plaintiff’s Amended Complaint, the Court disagrees that Plaintiff fails to allege fault by

Defendants.     Rather, Plaintiff alleges that “Defendants purposefully ignored information

demonstrating their falsity that was readily available to and within the Defendants’ knowledge”

including “[a]ccident investigation notes from the South Carolina Department of Public Safety’s

Multi-Disciplinary Accident Investigation Team.” (Dkt. No. 86, ¶ 19). Plaintiff further alleges

that “[t]he series purposefully omits information that would have been known and is known to the

Defendants, including information that Randy Murdaugh was representing Mr. Smith’s father, Joel

Smith, in an ongoing, unrelated case at the time of Stephen Smith’s death.” (Id., ¶ 30). The Court

finds that Plaintiff has plausibly alleged common law malice by Defendants sufficient to overcome

dismissal at this stage.

                E. Fair Report Privilege

        Defendants argue that the fair report privilege is fatal to Plaintiff’s defamation claims. (Dkt.

No. 88-1 at 33; Dkt. No. 89-1 at 33). “Under longstanding South Carolina case law, contents of

governmental records—such as judicial proceedings, case reports, published cases, investigative

reports, or arrest records—do not give rise to liability for slander or libel.” Aitch v. Maybin, No.

CIVA 9:08-2242 HMH G, 2008 WL 2943348, at *2 (D.S.C. July 29, 2008), aff'd, 325 F. App'x

281 (4th Cir. 2009) (citing Padgett v. Sun News, S.E.2d 30, 32–33 (S.C. 1982)). The fair report

privilege is a qualified privilege. West v. Morehead, 720 S.E.2d 495, 498 (S.C. Ct. App. 2011).

“Under this defense [of qualified privilege], one who publishes defamatory matter concerning

another is not liable for the publication if (1) the matter is published upon an occasion that makes




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it [qualifiedly or] conditionally privileged, and (2) the privilege is not abused.” Swinton Creek

Nursery v. Edisto Farm Credit, 514 S.E.2d 126, 134 (S.C. 1999).2

        Here, the Court need not decide at this stage which state’s privilege law applies because

Plaintiff’s theory of liability does not rest solely on the reporting or republication of law

enforcement reports. Rather, Plaintiff alleges that Defendants’ selective juxtaposition of law

enforcement interviews with interviews of individuals within Hampton County and reports

regarding the Murdaugh family, in tandem, create the defamatory implication that Plaintiff is

responsible for Stephen Smith’s death. The Court finds that the fair report privilege does not bar

Plaintiff’s lawsuit.

        IV.     Conclusion

        In light of the foregoing, Defendants’ motions to dismiss are DENIED. (Dkt. Nos. 88-90).

        AND IT IS SO ORDERED.




                                                     _s/ Richard M. Gergel
                                                     Richard Mark Gergel
                                                     United States District Judge

June 9, 2025
Charleston, South Carolina




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  Defendants contest that New York (Blackfin) and California (Campfire) law supply the fair
report privilege in this case under choice of law principles. (Dkt. No. 88-1 at 34; Dkt. No. 89-1 at
34).
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